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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

ABERDEEN DIVISION
FREDERICK D. SHANNON PLAINTIFF
y. | No. 1:21CV27-GHD-JMV
LEE COUNTY DEFENDANT
ORDER OF DISMISSAL

The court takes up, sia sponte, the dismissal of this cause. On February 25, 2021, the
court entered an order requiring the plaintiff to keep the court informed of his current address.
The court cautioned the plaintiff that failure to comply with the order would result in the
dismissal of this case without prejudice. Despite this warning, the plaintiff has failed to comply
with the court’s order, as the court recently received mail returned from the most recent address
the plaintiff provided, This case is therefore DISMISSED without prejudice for failure to

prosecute and for failure to comply with an order of the court under FED. R. Crv. P. 41(b).

d Mus

SO ORDERED, this, the 25th day of May, 2021.
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SENIOR JUDGE
